Case: 1:11-cv-08808 Document #: 632 Filed: 12/01/23 Page 1 of 1 PageID #:24024

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Kraft Foods Global, Inc., et al.
                                         Plaintiff,
v.                                                        Case No.: 1:11−cv−08808
                                                          Honorable Steven C. Seeger
United Egg Producers, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 1, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: The jury continued
deliberations on December 1, 2023. The Court received a note from the jury at 10:18 a.m.,
stating that they had reached a verdict. The Court directs the parties to assemble in the
courtroom by 10:50 a.m. so that the Court may receive the verdict. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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